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                                                April 12, 2021

  VIA ECF

  The Honorable Deborah L. Boardman
  U.S. District Court for the District of Maryland
  101 W. Lombard St., Baltimore, MD 21201
                                                 RE:            Buettner-Hartsoe v. CPS, et al.
                                                                Case 1:20-cv-03132-GLR
  Dear Judge Boardman:

  Pursuant to your Letter Order, this letter provides you with an update regarding the discovery
  dispute raised on Plaintiff’s Answers to Interrogatories and Responses to Requests for Production.

  Defendant and Plaintiffs conferred via telephone for approximately 50 minutes on April 9, 2021
  beginning at 8:45 A.M. As set forth below, Defendant respectfully requests that the telephone
  hearing scheduled for April 13, 2021 be postponed so that the parties can continue to meet and
  confer to attempt to resolve or reduce the discovery disputes.

  Defendant has raised objections to Plaintiff N.H.’s Answer to Interrogatory No. 17, in which
  Plaintiff was requested to itemize her economic damages because Plaintiff alleges medical
  expenses, lost wages, and impairment of future earnings in her Complaint. Defendant understands
  that itemization of some damages is a matter for expert discovery, but past medical expenses and
  lost wages is not. Defendant requested that Plaintiff N.H. review the Answer, supplement any
  additional documents in Plaintiff’s possession, custody, and control, and provide any supplement
  that Plaintiff viewed as necessary. Specifically, Defendant requested that Plaintiff supplement
  any past lost wages or medical expenses or advise if no such damages were being asserted at this
  time. Plaintiff’s counsel advised that it reserved to itemize future medical or lifecare expenses or
  future lost wage claims in the future, as that likely will be done through experts.

  Defendant raised objections to Plaintiff N.H.’s Response to Document Request No. 15, in which
  Plaintiff was requested to produce texts, tweets, messages, and communications with individuals
  mentioned in the Complaint, i.e., seeking communications between N.H. and the individuals that
  she alleges sexually harassed and/or assaulted her. In response, Plaintiff N.H. produced few
  documents and no text messages. Plaintiff incorporated the same response to Document Request
  No. 19 which is also at issue. Plaintiff’s position is that her devices have been searched and that
  the other text and social media messages have been lost, deleted, or are otherwise unavailable.




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During the call, Defendant raised issues and a possible resolution not previously discussed, in the
form of agreeing on a list of search terms to be run on Plaintiff’s devices (including phone and
computer), similar to what the parties have done with regard to Defendant’s document production.
In furtherance of that discussion, Defendant has provided Plaintiff with a search term list to ensure
that all communications are retrieved, which Plaintiff is reviewing and considering.

The parties also discussed Defendant’s ESI experts having access to Plaintiffs’ phone and
computer to perform forensic testing for information and to see if any deleted information can be
recovered. Defendant’s ESI experts have advised that Plaintiff’s cell phones and other devices
used to send communications can be searched, and such responsive information can potentially be
recovered. Defendant requested that Plaintiff surrender her cell phones and other devices used to
send communications to be imaged and searched. Defendant’s ESI experts have advised that this
process can likely be done remotely. Plaintiff agreed to consider Defendant’s request, and provide
Plaintiff’s position in the near future.

Defendant raised objections to Plaintiff N.H.’s Response to Document Request No. 20, in which
Plaintiff was requested to produce social networking site posts, messages, and profiles. Plaintiff’s
position is that her devices have been searched and that social media information has been
produced (although as noted by Defendant it was not produced in order), but that some has been
lost, deleted, or is otherwise unavailable. Defendant’s ESI experts have advised that Plaintiff’s
cell phones and other devices used to send social media messages can be searched, and such
responsive information can potentially be recovered. Defendant requested that Plaintiff surrender
her cell phones and other devices used for social networking site posts, messages, and profiles to
be imaged and searched. Defendant’s ESI experts have advised that this process can likely be
done remotely. Plaintiff agreed to consider Defendant’s request, and provide Plaintiff’s position
in the near future.

Because Plaintiffs have agreed to review their discovery responses and provide any supplements
they view as necessary, and because Plaintiffs are considering Defendant’s request for Defendant
to have its own third-party ESI contractor to examine their cell phones and devices used for text
message, social media and other communications, Defendant respectfully requests that the
telephone hearing scheduled for April 13, 2021 be postponed until Plaintiffs have responded and,
potentially, the parties meet and confer again in an effort to eliminate or reduce the discovery
disputes.

Defendant is making the same request in the Conrad case before Your Honor.

                                              Sincerely,

                                              ECCLESTON AND WOLF, P. C.

                                              By: ___/s/Gregg E. Viola ___________
                                                    Gregg E. Viola

GEV/MPJ:sdm/jc
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